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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 23-CR-20464-BLOOM/TORRES

 UNITED STATES OF AMERICA

 vs.

 VICTOR MANUEL ROCHA,

             Defendant.
 _____________________________________________/

       DEFENDANT’S STIPULATION TO PRETRIAL DETENTION AND MOTION TO
                          CONTINUE ARRAIGNMENT

          Defendant hereby requests the Court to: (1) enter an Order of Pretrial Detention pursuant

 to his stipulation that he be detained pretrial, with a right to revisit by both sides in the future; (2)

 cancel the pretrial detention hearing currently scheduled for January 12, 2024; and (3) continue

 the currently scheduled arraignment until February 16, 2024. Defendant makes these requests in

 the interests of justice which the government does not oppose.

              WHEREFORE, Defendant hereby requests that the Court: (1) enter an Order of Pretrial

 Detention; (2) cancels the currently scheduled detention hearing; and (3) continues the currently

 scheduled arraignment until February 16, 2024.

                                                   Respectfully submitted,



                                                    By: s/ Jacqueline M Arango
                                                   U.S. Attorney=s
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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 5, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.



                                          s/Jacqueline M. Arango
                                          Attorney for Defendant Manuel Victor Rocha




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